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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
PATRICK EDIAGBONYA,
                                    Plaintiff,                          18 CIVIL 3882 (VSB)

                  -against-                                                 JUDGMENT

UNITED STATES OF AMERICA,
                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion & Order dated September 23, 2020, Defendant's motion for

summary judgment is GRANTED, and Plaintiff's Complaint is DISMISSED; accordingly, the

case is closed.


Dated: New York, New York
       September 24, 2020



                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                             Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
